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                                          EXHIBIT 2

                                           Blackline




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                     EXHIBIT A
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    DOCKET
                                        RESPONDENT                                                        STATUS
    NUMBER
        416         Shelbyville Road Plaza LLC                               The Debtors believe that the objection will be resolved through the
                                                                             proposed confirmation order that will be filed prior to the
                                                                             confirmation hearing.
        434         Robinson Crossing, LLC                                   Resolved – Objection withdrawn.
        438         277 Canal Associates, LLC                                The Debtors are continuing to analyze the objectionResolved –
                                                                             Objection withdrawn.
      4654651       Columbus North Associates, LP, et al.                    The Debtors have partially resolved the objection and are working to
                                                                             resolve the remainder.
        470         V&V Lakeshore, Ltd.                                      Resolved – Objection withdrawn.
        471         Towne Cross Burlington LLC                               The Debtors are continuing to analyze the objection.
        472         Plato Pavlatos                                           The Debtors are continuing to analyzeengaged with the objecting
                                                                             party and working to resolve the objection.
        473         1276 Lex Owner, LLC                                      The Debtors believe that the objection will be resolved through the
                                                                             proposed confirmation order that will be filed prior to the
                                                                             confirmation hearing.
        474         Grapevine Pavilion Investment, Ltd.                      The Debtors believe that the objection will be resolved through the
                                                                             proposed confirmation order that will be filed prior to the
                                                                             confirmation hearing.
        476         D3 Comstock Park, LLC                                    Resolved – Objection withdrawn.
        482         CBL & Associates Management, Inc.                        The Debtors have partially resolved the objection and are working to
                                                                             resolve the remainder.
        484         MF Ohio LLC                                              The Debtors believe that the objection will be resolved through the
                                                                             proposed confirmation order that will be filed prior to the
                                                                             confirmation hearing.

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    A supplemental objection was filed at docket number 671.
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DOCKET
                         RESPONDENT                                                       STATUS
NUMBER
 489     770 Real Estate Corp.                                The lease related to this objection has been rejected. Accordingly,
                                                              the objection is moot.
 491     Rexford Industrial-SDLAOC, LLC                       The Debtors believe that the objection will be resolved through the
                                                              proposed confirmation order that will be filed prior to the
                                                              confirmation hearing.
 492     Market Square at Frederick, L.L.C., Davis Ford       The Debtors are continuing to analyzeengaged with the objecting
         Crossing, LLC, and Potomac Festival, LLC             party and working to resolve the objection.
 493     Liberty Property Limited Partnership                 The Debtors believe that the objection will be resolved through the
                                                              proposed confirmation order that will be filed prior to the
                                                              confirmation hearing.
 497     EQYInvest Owner II, LTD, L.L.P.                      The Debtors believe that the objection will be resolved through the
                                                              proposed confirmation order that will be filed prior to the
                                                              confirmation hearing.
 498     EQYInvest Owner I, LTD, L.L.P.                       The Debtors believe that the objection will be resolved through the
                                                              proposed confirmation order that will be filed prior to the
                                                              confirmation hearing.
 499     Roxbury Partners Tempe, LLC                          Resolved – The lease related to this objection has been rejected.
                                                              Accordingly, the objection is moot.
 500     New West Michigan Industrial Investors, L.L.C.       The Debtors believe that the objection will be resolved through the
                                                              proposed confirmation order that will be filed prior to the
                                                              confirmation hearing.
 502     Gator Entertainment, Inc.                            The Debtors believe that the objection will be resolved through the
                                                              proposed confirmation order that will be filed prior to the
                                                              confirmation hearing.
 503     Fourteen St. Owner Realty LLC                        The Debtors are continuing to analyzeengaged with the objecting
                                                              party and working to resolve the objection.
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    DOCKET
                                        RESPONDENT                                                     STATUS
    NUMBER
        504         Kay Realty LLC                                        The Debtors believe that the objection will be resolved through the
                                                                          proposed confirmation order that will be filed prior to the
                                                                          confirmation hearing.
        505         Washington Prime Group Inc.                           The Debtors have partially resolved the objection and are working to
                                                                          resolve the remainder.
        506         Gainesville Archer Properties LLC                     The Debtors are continuing to analyze the objection.
        507         Samuels & Associates Hingham LLC, IPT East            The Debtors have partially resolved the objection and are working to
                    Windsor DC LLC, and Seekonk Mall LLC                  resolve the remainder.
        508         Almaden Ranch LLC and Arcadia Development             The Debtors are continuing to analyzeengaged with the objecting
                    Company                                               party and working to resolve the objection.
        509         Russel Maridon and Brian Maridon                      Resolved – Objection withdrawn.
        511         Forman Flatbrook LLC                                  The Debtors are continuing to analyze the objection.
        512         Mann Enterprises, Inc.                                The Debtors are engaged with the objecting party and working to
                                                                          resolve the objection.
     51415142       Canton Place Retail II, LLC                           The Debtors are engaged with the objecting party and working to
                                                                          resolve the objectionResolved – Objection withdrawal pending.
        516         RRE Sunnyside Holdings LLC                            The Debtors believe that the objection will be resolved through the
                                                                          proposed confirmation order that will be filed prior to the
                                                                          confirmation hearing.
        517         Green Circle Foundation LLC                           The Debtors are engaged with the objecting party and working to
                                                                          resolve the objectionResolved – Objection withdrawn.
        519         Trailside Liberty Way, LLC                            The Debtors believe that the objection will be resolved through the
                                                                          proposed confirmation order that will be filed prior to the

1
    A duplicate objection was filed at docket number 661.
2
    A duplicate objection was filed at docket number 661.
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DOCKET
                           RESPONDENT                                                       STATUS
NUMBER
                                                               confirmation hearing.
 520     1400 SW Canal Blvd., LLC                              The Debtors believe that the objection will be resolved through the
                                                               proposed confirmation order that will be filed prior to the
                                                               confirmation hearing.
 521     3650 8th Street Becknell Investors, LLC               The Debtors are continuing to analyze the objection.
 524     PITV, Inc.                                            The Debtors are continuing to analyze the objection.
 525     CGP Willmar MF, LLC, CGP Jasper MF, LLC,              The Debtors are engaged with the objecting party and working to
         CGP 2703 W. Deyoung Street MF, LLC, and CGP           resolve the objection.
         Hanover MF, LLC
 526     First Industrial, L.P.                                The Debtors are continuing to analyze the objection.
 527     Craig Filice                                          The Debtors are continuing to analyzeengaged with the objecting
                                                               party and working to resolve the objection.
 528     Serra Center Associates No. Two, LP and Serra         The Debtors are continuing to analyzeengaged with the objecting
         Center Associates                                     party and working to resolve the objection.
 529     DC USA Operating Co., LLC                             The Debtors are continuing to analyze the objection.
 530     Fairway Pads, Ltd.                                    The Debtors are engaged with the objecting party and working to
                                                               resolve the objection.
 531     Highland Ramblewood, LLC                              The Debtors are continuing to analyze the objection.
 532     National Shopping Plazas, Inc.                        The Debtors are continuing to analyze the objection.
 533     Lind North, L.L.C.                                    The Debtors are continuing to analyze the objection.
 534     Truman Property Group, L.L.C.                         The Debtors are continuing to analyze the objection.
 535     Mac Grove Station LLC                                 The Debtors are continuing to analyze the objectionResolved –
                                                               Objection withdrawn.
 536     ARA Montgomery LLC                                    The Debtors are continuing to analyze the objectionResolved –
                                                           5
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DOCKET
                          RESPONDENT                                                     STATUS
NUMBER
                                                            Objection withdrawn.
 537     IREIT Olive Branch Wedgewood, L.L.C., et al.       The Debtors are engaged with the objecting party and working to
                                                            resolve the objection.
 538     G&I VIII Hammond LLC                               The Debtors are continuing to analyzebelieve that the objection will
                                                            be resolved through the proposed confirmation order that will be
                                                            filed prior to the confirmation hearing.
 539     Shadelands Park, LLC                               The Debtors are continuing to analyze the objection.
 540     Donahue Schriber Realty Group, LP, Rocklin         Resolved – Objection withdrawn.
         Crossings LP, and Rocklin Holdings, LP
 543     Linwood Mall LLC                                   The Debtors are continuing to analyzeengaged with the objecting
                                                            party and working to resolve the objection.
 544     Thrifty Payless, Inc.                              The Debtors are engaged with the objecting party and working to
                                                            resolve the objection.
 545     BobBullhead AZ, LLC                                The Debtors are engaged with the objecting party and working to
                                                            resolve the objection.
 546     Great Barrington Real Estate, LLC                  The Debtors are continuing to analyzeengaged with the objecting
                                                            party and working to resolve the objection.
 547     Rivercrest Realty Associates, LLC                  The Debtors are continuing to analyze the objection.
 550     PJB Corp.                                          The Debtors are engaged with the objecting party and working to
                                                            resolve the objection.
 551     Associated Investors Group                         The Debtors are continuing to analyze the objection.
 552     Southlands HV1 LLC                                 The Debtors are continuing to analyze the objection.
 553     Mark and Pamela Walker                             The Debtors are engaged with the objecting party and working to
                                                            resolve the objection.

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                          RESPONDENT                                                    STATUS
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 554     Country Glen LLC                                  The Debtors believe that the objection will be resolved through the
                                                           proposed confirmation order that will be filed prior to the
                                                           confirmation hearing.
 556     TRPF Marlton Square PAD LLC                       Resolved – The lease related to this objection has been rejected.
                                                           Accordingly, the objection is moot.
 557     Colony Place Development, LLC                     The Debtors are continuing to analyze the objection.
 558     ST Indian Ridge LLC                               Resolved – Objection withdrawn.
 560     Lawrenceville Properties 222, LLC                 Resolved – The lease related to this objection has been rejected.
                                                           Accordingly, the objection is moot.
 563     Hickory 72 LLC                                    The Debtors are continuing to analyzeengaged with the objecting
                                                           party and working to resolve the objection.
 564     DJM NNN I, LLC and DJM NNN III, LLC               The Debtors have partially resolved the objection and are working to
                                                           resolve the remainder.
 566     Coshena VI, Ltd.                                  The Debtors believe that the objection will be resolved through the
                                                           proposed confirmation order that will be filed prior to the
                                                           confirmation hearing.
 567     Parmatown Station LLC                             The Debtors are engaged with the objecting party and working to
                                                           resolve the objection.
 568     Canyon Park Properties, LLC                       The Debtors are continuing to analyze the objection.
 569     PREP Hanover Real Estate LLC                      The Debtors believe that the objection will be resolved through the
                                                           proposed confirmation order that will be filed prior to the
                                                           confirmation hearing.
 572     Shadow Lake Towne Center, LLC                     The Debtors believe that the objection will be resolved through the
                                                           proposed confirmation order that will be filed prior to the
                                                           confirmation hearing.

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                           RESPONDENT                                                     STATUS
NUMBER
 573     Aaron’s, Inc.                                       The Debtors are continuing to analyzeengaged with the objecting
                                                             party and working to resolve the objection.
 574     Babson Macedonia Partners, LLC                      The Debtors are engaged with the objecting party and working to
                                                             resolve the objection.
 575     Kimco Realty Corp.                                  The Debtors have partially resolved the objection and are working to
                                                             resolve the remainder.
 576     OCG Alpha Development, LLC                          Resolved – The lease related to this objection has been rejected.
                                                             Accordingly, the objection is moot.
 577     Kin Properties, Inc., et al.                        The Debtors have partially resolved the objection and are working to
                                                             resolve the remainder.
 578     CAPREF Brookwood Village LLC                        The Debtors are continuing to analyzeengaged with the objecting
                                                             party and working to resolve the objection.
 579     Lucerne-Ridgewood, LLC                              The Debtors are continuing to analyze the objection.
 580     EBA Blissful Real Estate LLC                        The Debtors are continuing to analyze the objection.
 582     255 Mall LLC                                        The Debtors are engaged with the objecting party and working to
                                                             resolve the objectionResolved – Objection withdrawn.
 583     Running Hill SP LLC and Palm Beach Mall             The Debtors believe that the objection will be resolved through the
         Holdings LLC                                        proposed confirmation order that will be filed prior to the
                                                             confirmation hearing.
 584     W/S Ware Properties OP LLC and W/S Hadley           The Debtors have partially resolved the objection and are working to
         Properties II LLC                                   resolve the remainder.
 585     Thomas R. Buckner                                   The Debtors are continuing to analyze the objection.
587585   Kancov Investment, LThomas R.P., Briar Group,       The Debtors believe that the objection will be partially resolved
         L.P., and Hampton Mercury Investment Co.            through the proposed confirmation order that will be filed prior to
                                                             the confirmation hearing and areare engaged with the objecting
                                                         8
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                         RESPONDENT                                                          STATUS
NUMBER
         Buckner                                                party and working to resolve the remainderobjection.
588587   Castle & Cooke Commercial-CA, IncKancov                The Debtors are continuing to analyzeengaged with the objecting
         Investment, L.P., Briar Group, L.P., and Hampton       party and working to resolve the objection.
         Mercury Investment Co.
 588     Castle & Cooke Commercial-CA, Inc.                     The Debtors believe that the objection will be resolved through the
                                                                proposed confirmation order that will be filed prior to the
                                                                confirmation hearing.
 589     Six Cousins Realty, LLC                                Resolved – Objection withdrawn.
 590     Laguna Promenade, LLC                                  The Debtors are continuing to analyze the objection.
 591     Twichell Properties, LLC                               The Debtors believe that the objection will be resolved through the
                                                                proposed confirmation order that will be filed prior to the
                                                                confirmation hearing.
 592     Folksan Realty Associates -- Store No. 163026          The Debtors believe thatare engaged with the objecting party and
                                                                working to resolve the objection will be resolved through the
                                                                proposed confirmation order that will be filed prior to the
                                                                confirmation hearing.
 593     ACF Property Management, Inc., et al.                  The Debtors have partially resolved the objection and are working to
                                                                resolve the remainder.
 594     Folksan Realty Associates -- Store No. 169014          Resolved – The lease related to this objection has been rejected.
                                                                Accordingly, the objection is moot.
 595     LVP 161 James West, LLC                                The Debtors are continuing to analyze the objection.
 598     One Eleven La Quinta, LLC                              The Debtors believe that the objection will be resolved through the
                                                                proposed confirmation order that will be filed prior to the
                                                                confirmation hearing.
 599     IRC Hickory Creek, L.L.C., et al.                      The Debtors are continuing to analyzeengaged with the objecting

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                         RESPONDENT                                                         STATUS
NUMBER
                                                               party and working to resolve the objection.
 600     American Realty Advisors, et al.                      The Debtors have partially resolved the objection and are working to
                                                               resolve the remainder.
 601     TKG El Con Center LLC, TKG Paxton Towne               The Debtors have partially resolved the objection and are working to
         Center Development, LP, and TKG Spring Prairie        resolve the remainder.
         Development IV, LLC
 602     Clybourn Center, LLC                                  The Debtors believe that the objection will be resolved through the
                                                               proposed confirmation order that will be filed prior to the
                                                               confirmation hearing.
 603     Meadows Marketplace Shopping Center, LP and           The Debtors are continuing to analyze the objection.
         UPSA Mayfaire LLC
 606     Cole MF Jonesboro AR LLC, et al.                      The Debtors have partially resolved the objection and are working to
                                                               resolve the remainder.
 609     SPV Orland Park, LLC and VAT Orland Park,             The Debtors are engaged with the objecting party and working to
         LLC                                                   resolve the objection.
 610     T & V Property, LLC                                   The Debtors are engaged with the objecting party and working to
                                                               resolve the objectionResolved – Objection withdrawn.
 611     HART Miracle Marketplace, LLC                         The Debtors believe that the objection will be resolved through the
                                                               proposed confirmation order that will be filed prior to the
                                                               confirmation hearing.
 612     655 South Grand Avenue Owner, LLC, et al.             The Debtors have partially resolved the objection and are working to
                                                               resolve the remainder.
 613     Cimco Realty, LLC                                     The Debtors believe that the objection will be resolved through the
                                                               proposed confirmation order that will be filed prior to the
                                                               confirmation hearing.

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    DOCKET
                                        RESPONDENT                                                         STATUS
    NUMBER
        615         Thaler Realty Corp.                                       Resolved – The lease related to this objection has been rejected.
                                                                              Accordingly, the objection is moot.
        616         305 & 307 Ogden Avenue, LLC                               The Debtors are engaged with the objecting party and working to
                                                                              resolve the objectionResolved – Objection withdrawal pending.
        617         Prologis-North Carolina Limited Partnership               The Debtors believe that the objection will be resolved through the
                                                                              proposed confirmation order that will be filed prior to the
                                                                              confirmation hearing.
        618         Sugar3 LLC                                                The Debtors believe that the objection will be resolved through the
                                                                              proposed confirmation order that will be filed prior to the
                                                                              confirmation hearing.
        619         Neighborhood Development Corporation                      The Debtors are continuing to analyze the objection.
        620         VBV Regency, LLC                                          The Debtors are continuing to analyze the objection.
        621         Tag Realty, LLC                                           The Debtors are engaged with the objecting party and working to
                                                                              resolve the objection.
      6226223       Agree Baton Rouge LA, LLC, et al.                         The Debtors have partially resolved the objection and are working to
                                                                              resolve the remainder.
        624         SG National, LLC                                          The Debtors are continuing to analyze the objection.
        625         Falconi Realty Co., LLC                                   Resolved – The lease related to this objection has been rejected.
                                                                              Accordingly, the objection is moot.
        626         CFT NV Developments, LLC and CFT                          The Debtors have partially resolved the objection and are working to
                    Developments, LLC                                         resolve the remainder.
        627         Bruce and Karen Wiener 1985 Trust                         The Debtors are continuing to analyze the objection.
        628         DAR Northchase, LLC                                       The Debtors believe that the objection will be resolved through the
3
    Supplemental objections were filed at docket numbers 676 and 807.
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DOCKET
                         RESPONDENT                                                      STATUS
NUMBER
                                                            proposed confirmation order that will be filed prior to the
                                                            confirmation hearing.
 630     Frontier Clermont LLC                              The Debtors believe that the objection will be resolved through the
                                                            proposed confirmation order that will be filed prior to the
                                                            confirmation hearing.
 631     Dwulet and Dwulet GP, et al.                       The Debtors are continuing to analyze the objection.
 632     VEREIT Real Estate, L.P., et al.                   The Debtors have partially resolved the objection and are working to
                                                            resolve the remainder.
 633     MGP X Properties, LLC, MGP XI US Properties        The Debtors are continuing to analyze the objection.
         LLC, and M&H VI Projects, LLC
 634     Prologis USLV Subriet 4, LLC                       The Debtors are continuing to analyze the objection.
 635     JBL Preston Ridge, LLC, et al.                     The Debtors are continuing to analyzehave partially resolved the
                                                            objection and are working to resolve the remainder.
 636     C4 Elion, LLC                                      The Debtors believe that the objection will be resolved through the
                                                            proposed confirmation order that will be filed prior to the
                                                            confirmation hearing.
 637     AmCap Cowesett II LLC                              The Debtors are continuing to analyzeengaged with the objecting
                                                            party and working to resolve the objection.
 638     TRT Beaver Creek LLC                               The Debtors have partially resolved the objection and are working to
                                                            resolve the remainder.
 639     AmCap Tiffany LLC                                  The Debtors are continuing to analyze the objection.
 641     557 Rt. 130 in EWT, LLC                            Resolved – The lease related to this objection has been rejected.
                                                            Accordingly, the objection is moot.
 642     M&B Grand Junction, LLC                            The Debtors believe that the objection will be resolved through the
                                                            proposed confirmation order that will be filed prior to the
                                                       12
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                            RESPONDENT                                                   STATUS
NUMBER
                                                            confirmation hearing.
 643     Retail Opportunity Investments Corp.               The Debtors are continuing to analyze the objection.
 645     Salisbury Innes Street, LLC and MDS Investments    The Debtors believe that the objection will be resolved through the
         II, LLC                                            proposed confirmation order that will be filed prior to the
                                                            confirmation hearing.
 646     Ramco Properties Trust, et al.                     The Debtors have partially resolved the objection and are working to
                                                            resolve the remainder.
 647     Carpet Land Inc.                                   The Debtors are continuing to analyze the objection.
 650     Dash Family 2009 Trust                             The Debtors have partially resolved the objection and are working to
                                                            resolve the remainder.
 659     1993 Pulaski Highway LLC, et al.                   The Debtors have partially resolved the objection and are working to
                                                            resolve the remainder.
 666     UE Property Management LLC                         The Debtors are continuing to analyze the objection.
 667     WFC Fund I Legacy, LLC                             The Debtors are continuing to analyze the objection.
 668     WFC Fund II Pablo, LLC                             The Debtors are continuing to analyze the objection.
 719     IVT Parke Cedar Park, LLC, et al.                  The Debtors have partially resolved the objection and are working to
                                                            resolve the remainder.
 786     Edgewood Retail LLC                                The Debtors believe that the objection will be resolved through the
                                                            proposed confirmation order that will be filed prior to the
                                                            confirmation hearing.
 787     Market Town Center Owner, LLC -- Store 001017      The Debtors believe that the objection will be resolved through the
                                                            proposed confirmation order that will be filed prior to the
                                                            confirmation hearing.
 788     Market Town Center Owner, LLC -- Store 001192      The Debtors believe that the objection will be resolved through the

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                         RESPONDENT                                                         STATUS
NUMBER
                                                               proposed confirmation order that will be filed prior to the
                                                               confirmation hearing.
 789     SF Zephyr Commons, LP                                 The Debtors are engaged with the objecting party and working to
                                                               resolve the objection.
719791   IVT Parke Cedar Park, LLC, et alEssex Property        The Debtors are continuing to analyze the objection.
         Trust, Inc.
 806     AFI Columbus, LLC                                     The Debtors are continuing to analyze the objection.
 808     Osceola D & J Lot 5, LLC                              The Debtors believe that the objection will be resolved through the
                                                               proposed confirmation order that will be filed prior to the
                                                               confirmation hearing.




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                        RESPONDENT                                                           STATUS
Fitzwill Properties c/o The Shopping Center Group, LLC           Resolved.
The Vienna Shopping Center Limited Partnership c/o Rappaport     Resolved.
Management Company
TT MT. Airy LLC c/o Rappaport Management Company                 Resolved.
Cocca Development, LTD.                                          Resolved.
JBL Flamingo Pines, LLC c/o JBL Asset Management, LLC            Resolved.
LHCT-DKS Partners, L.P., LHCT-JBS Partners L.P.,                 Resolved.
LHCT-PBS Partners, L.P., and HCT-SHS Partners, L.P. c/o
Rosewood Management Corporation
Grand Canyon Center LP                                           Resolved.
Pembroke Place Property, LLC                                     Resolved.
Grand Plaza Owner LLC c/o Treeview Real Estate Advisors LP       Resolved.
1855 Park, LLC                                                   Resolved – The lease related to this objection has been rejected.
                                                                 Accordingly, the objection is moot.
KRG New Hill Place I, LLC c/o Kite Realty Group, LP              Resolved – The lease related to this objection has been rejected.
                                                                 Accordingly, the objection is moot.
Gabrellian Associates                                            The Debtors are engaged with the objecting party and working to
                                                                 resolve the objection.
Kite West 86th Street II, LLC c/o Kite Realty Group, LP          The Debtors are engaged with the objecting party and working to
                                                                 resolve the objection.
Cerritos Promeade, LLC c/o America West Properties               The Debtors are engaged with the objecting party and working to
                                                                 resolve the objection.
JBL Preston Ridge, LLC23D c/o JBL Asset Management, LLC          The Debtors are engaged with the objecting party and working to
                                                                 resolve the objection.

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Church Lane Shops LLC c/o Maryland Financial Investors          The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.
MFB Glenville Owner LLC c/o RD Management LLC                   The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.
Waterstone Retail Epping, LLC                                   The Debtors believe that the objection will be resolved through the
                                                                proposed confirmation order that will be filed prior to the
                                                                confirmation hearing.
HC Holdings LLC, c/o C and R Management LLC                     The Debtors believe that the objection will be resolved through the
                                                                proposed confirmation order that will be filed prior to the
                                                                confirmation hearing.
Kahl & Goveia/Magnolia Taxes                                    The Debtors are continuing to analyze the objection.
Maxim Enterprises, LLC                                          The Debtors are continuing to analyze the objection.
JBL Lake Walden, LLC, JBL Lake Walden 2, LLC, and JBL           The Debtors are continuing to analyze the objection.
Lake Walden 3 LLC c/o JBL Asset Management, LLC
Dial Realty - Cheyenne Mountain II, LLC                         The Debtors are continuing to analyze the objection.
CT Kennedy Marketplace, LLC                                     The Debtors are continuing to analyze the objection.
Heb Hop LP D/B/A CMK Bloomington, LLC c/o Newmark               The Debtors are continuing to analyze the objection.
Grubb Zimmer
OCW Retail-Rochester, LLC c/o The Wilder Companies, Ltd.        The Debtors are continuing to analyze the objection.
235 Boston Post Road, LLC c/o Crosspoint Associates, Inc.       The Debtors are continuing to analyze the objection.
Karen and Joseph Calcagno                                       The Debtors are continuing to analyze the objection.
Prologis Texas III LLC                                          The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.
DCT OTA Farms LLC                                               The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.

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DCT/SPF Pinnacle IX LLC                                         The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.
Hamilton Town Center                                            The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.
Crosspointe Developers, LLC                                     The Debtors are continuing to analyze the objection.
Mansfield Plaza, LLC                                            The Debtors are continuing to analyze the objection.
Regent Shopping Center                                          The Debtors are continuing to analyze the objection.
Fidelis Realty Partners, Ltd.                                   The Debtors are engaged with the objecting party and working to
                                                                resolve the objection.




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